                             Case:
       Hearing Date: 3/14/2023       1:22-cv-07034
                               9:30 AM               Document #: 1-1 Filed: 12/14/22 Page 1 of 51 PageID #:5
                                                                                                      FILED
       Location: Court Room 2408
       Judge: Conlon, Alison C
                                                                                                      11/14/2022 12:51 PM
                                                                                                      IRIS Y. MARTINEZ
                                                                                                      CIRCUIT CLERK
                                                                                                      COOK COUNTY, IL
                                                                                                      2022CH11146
                                                                                                      Calendar, 4
                                                                                                      20288266
FILED DATE: 11/14/2022 12:51 PM 2022CH11146




                                                                                2022CH11146




                                                                                                       EXHIBIT A
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 2 of 51 PageID #:6
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 3 of 51 PageID #:7
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 4 of 51 PageID #:8
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 5 of 51 PageID #:9
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 6 of 51 PageID #:10
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 7 of 51 PageID #:11
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 8 of 51 PageID #:12
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 9 of 51 PageID #:13
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 10 of 51 PageID #:14
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 11 of 51 PageID #:15
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 12 of 51 PageID #:16
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 13 of 51 PageID #:17
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 14 of 51 PageID #:18
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 15 of 51 PageID #:19
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 16 of 51 PageID #:20
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 17 of 51 PageID #:21
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 18 of 51 PageID #:22
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 19 of 51 PageID #:23
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 20 of 51 PageID #:24
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 21 of 51 PageID #:25
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 22 of 51 PageID #:26
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 23 of 51 PageID #:27
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 24 of 51 PageID #:28
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 25 of 51 PageID #:29
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 26 of 51 PageID #:30
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 27 of 51 PageID #:31
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 28 of 51 PageID #:32
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 29 of 51 PageID #:33
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 30 of 51 PageID #:34
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 31 of 51 PageID #:35
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 32 of 51 PageID #:36
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 33 of 51 PageID #:37
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 34 of 51 PageID #:38
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 35 of 51 PageID #:39
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 36 of 51 PageID #:40
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 37 of 51 PageID #:41
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 38 of 51 PageID #:42
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 39 of 51 PageID #:43
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 40 of 51 PageID #:44
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 41 of 51 PageID #:45
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 42 of 51 PageID #:46
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 43 of 51 PageID #:47
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 44 of 51 PageID #:48
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 45 of 51 PageID #:49
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 46 of 51 PageID #:50
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 47 of 51 PageID #:51
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 48 of 51 PageID #:52
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 49 of 51 PageID #:53
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 50 of 51 PageID #:54
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
                                              Case: 1:22-cv-07034 Document #: 1-1 Filed: 12/14/22 Page 51 of 51 PageID #:55
FILED DATE: 11/14/2022 12:51 PM 2022CH11146
